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                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,                                    Case No. 2:18-cr-00189

                     Plaintiff,
                                                     MOTION IN LIMINE TO PRE-ADMIT
       vs.                                                 TRIAL EVIDENCE

GARY MARK HILL,
                                                              Judge Dale A. Kimball
                     Defendant.


       The United States Attorney, by and through the undersigned Assistant United States

Attorney, hereby moves to pre-admit the defendant’s post-Miranda interview with ATF

agents into evidence to be presented at trial. Pursuant to Federal Rules of Evidence, Rule

801(d)(2), Mr. Hill’s Statements are Admissible as Statements by an Opposing Party.

Because Mr. Hill was advised of his Miranda rights prior to being questioned and he did not

unambiguously request counsel, his statements are not subject to suppression.

       In Davis v. United States, 512 U.S. 452, 458-59 (1994), the Court held that the clarity

of the invocation of the Miranda right to counsel should be determined objectively from the

perspective of a reasonable police officer under the circumstances. In making determinations

about the clarity of Miranda invocations, the courts of appeal have asked whether the




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invocation was unambiguous or unequivocal. See United States v. Teleguez, 492 F.3d 80, 88

(1st Cir. 2007); United States v. Ferrer-Montoya, 483 F.3d 565, 569 (8th Cir. 2007).

        Here, Defendant mentioned “lawyer” ambiguously and equivocatingly. Specifically,

Defendant stated, “If I fully cooperate, and I have no intentions of not fully cooperating, I

just don’t know if having a lawyer will be better for me. That’s why I want to fully

cooperate, I just, I don’t want to go to jail.” Shortly thereafter, Defendant stated, “I don’t

know what I am supposed to do, whether I, if having a lawyer, even if a lawyer was present,

I’d be fully cooperative. I just don’t know if a lawyer is going to tell me to do or say certain

things that are the right.” Moments later, Defendant stated “I’ll fully cooperate. Yes. Yes.

Yes, I’ll talk to you.” Defendant then signed the Miranda rights waiver form (Attached as

Exhibit A.).

        No reasonable police officer would understand Defendant’s voiced stream of

consciousness as a clear, unequivocal, or unambiguous invocation of the right to counsel.

Indeed, the Court should find that Defendant’s references to “a lawyer” were vague, unclear,

equivocating and ambiguous.

        Accordingly, based on the foregoing reasons, the Court should admit Defendant’s

interview 1 into evidence at this time.

        RESPECTFULLY SUBMITTED July 10, 2019.

                                                   JOHN W. HUBER
                                                   United States Attorney

                                                   /s/ Isaac C. Workman
                                                   ISAAC C. WORKMAN
                                                   Assistant United States Attorney



1
 The United States will provide a copy of the interview on CD to Chambers on July 11, 2019. The Miranda
admonishment and the Defendant’s waiver occur in the first three-minutes of the interview.

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